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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :

               V.                             :      Case No.: 21-CR-371
                                              :
JONAH WESTBURY
                                              :
               Defendant.                     :


                                 NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney Christopher

Cook, as counsel for the United States, is terminating their appearance as counsel of record in this

matter. All other government counsel noted on the docket at the time of this filing will remain

counsel for the United States.

                                              Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     DC Bar No. 481052

                                              By:    /s/ Christopher Cook
                                                     Christopher Cook
                                                     Assistant United States Attorney
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                                                     Columbia
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                               CERTIFICATE OF SERVICE

       On this 28th day of April, 2023, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.



                                              By:   /s/ Christopher Cook
                                                    Christopher Cook
                                                    Assistant United States Attorney
